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                                                                                        June 4, 2025
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                                                                  ., OURT          CLERK, U.S. DISTRICT COURT
                                                                                   WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                                 By:     RR
                                  SaAnN AnNtOn
                                           To   NiIoO DIVISION                                         Deputy
aided and abetted by another, knowingly possessed a firearm, to wit: a rifle having a barrel less
                                                                    Case No:          SA:25-CR-00318-FB

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                                 h, E    reA
                                      otIC gistered to him in the National Firearms Registration and

         Plaintiff
Transfer Record, in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.
                 v.
                                                       INDICTMENT
  SIDNEY M. WITTLIF, JR.

         Defendant                                     Conspiracy   to   Traffic Firearms




                                                       Possession of Unregistered Firearm      18USC    § 2 Aiding and




 THE GRAND JURY CHARGES:

                                           COUNT ONE
                                          [18 U.S.C. § 933]

        From on or about September 30, 2024, the exact date being unknown, to on or about April

                                                 Defendant,


                                   SIDNEY M. WITTLIF, JR.,


 and others, did knowingly conspire to ship, transport, transfer, cause to be transported, and


 otherwise dispose of any firearm to another person in and affecting interstate and foreign


 commerce, having reasonable cause to believe that the use, carrying, or possession of a firearm by


the recipient would constitute a felony, to wit: possession of an unregistered firearm and smuggling


 goods from the United States, all in violation of Title 18, United States Code, Sections 933(a)(1)


 and 933(a)(3).


                                                     TWO
                                [26 U.S.C. § 5861(d), 18 U.S.C. § 2]
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                                   SIDNEY M. WITTLIF, JR.,


aided and abetted by another, knowingly possessed a firearm, to wit: a rifle having a barrel less

than sixteen inches in length, not registered to him in the National Firearms Registration and

Transfer Record, in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                               I.
                          Firearm Violation and Forfeiture Statutes
    [Title 18 U.S.C. § 933(a)(1) and (3), subject to forfeiture pursuant to Title 18 U.S.C. §
                                     934(a)(1)(A) and (B)]

       As a result of the criminal violation set forth in Count One, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which state:

       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. -­
           (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
          to the United States, irrespective of any provision of State law--
                (A) any property constituting, or derived from, any proceeds the person obtained,
                directly or indirectly, as the result of such violation; and
                (B) any of the person's property used, or intended to be used, in any manner or part,
                to commit, or to facilitate the commission of, such violation . . .

                                              II.
                  Unregistered Possession Violation and Forfeiture Statutes
 [Title 26 U.S.C. § 5841, 5861(d), and 5871, subject to forfeiture pursuant to Title 26 U.S.C.
          § 5872, made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count Two, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 26 U.S.C. § 5872, made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which states:




                                                  2
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         Title 26 U.S.C. § 5872. Forfeitures
                 (a) Laws applicable- Any firearm involved in any violation of the
                     provisions of this chapter shall be subject to seizure and forfeiture. . .

                                                III.
                                           Money Judgment

         Money Judgment: A sum of money representing the amount of proceeds traceable to the

violations for which Defendant is liable.


                                                   IV.
                                            Substitute Assets

         If any property subject to forfeiture as a result of the offense(s) set forth in the Counts listed
above;
                 a.       cannot be located upon the exercise of due diligence;
                 b.       has been transferred or sold to, or deposited with, a third party ;
                 c.       has been placed beyond the jurisdiction of the Court;
                 d.       has been substantially diminished in value; or
                 e.       has been commingled with other property which cannot be divided without
                          difficulty;

         as a result of any act or omission of the Defendant, it is the intent of the United States of

America, to seek forfeiture of any other property of said Defendant, up to the value of the

property listed above as being subject to forfeiture pursuant to Title 21 U.S.C. § 853(p) and Fed.

R. Crim. P. 32.2(e)(1).




         JUSTIN R. SIMMONS
         UNITED STATES ATTORNEY


BY:
         FOR Zachary W. Parsons
         Assistant United States Attorney



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